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Case 1:07-cv-01205-LG-RHW Document 300-11 Filed 11/13/2009 Page 6 of 11
. Harrison County Adult Detention Center .

George Payne, Sheriff
Use of Force Report
1)Date: 2)Time: 3)Location: 4)Incident Number
Hate. 20°35" Z/°? Ars Boatirr .
. 5)inmate’ s Name: ~ 6)Date of Birth: 1 7)Sex:
Me Bar baet i HEI __ Y|Male [Female
| 8)Docket Number: - ock: ‘10)Section: , 1i)Cell: *
| Pen a78 BZS Aa WA M/A.
12)Reason for use of Force: . 7 -
Necessary to defend another officer . [_] To restrain for inmate's safety
Necessary to defend another inmate [] Other:
[yf To prevent violent behavior
13) Was inmate injured? | 14) Transported? | 15)Destination: , 16) Screened by medical?

(Syes [Jno _ | Clyes BYNo a Aves [No

17) # of inmates that resisted: | 18) # of officers present: 19)Supervisor notified / time: 20) Notified superyzor’s signature:
: : Serle siks| 2 Be ys?

21) At the time of the incident, the inmate was: ’ ,
‘ Bl Hostile Behavior [WSuspected under the influence of alcoho! / drags [_] Mentally impaired

Other:

22)) Desoribe the inmate’s injuries:

_Facrar SWleiccW , ise EBLL4f)

23) Levels of resistance:

KJ Psychological Intimidation: Explain: :
(non-verbal cues indicating inmate’s § attitude or physical readiness) 1 [OAD Z V EBA, Z

tl “ ‘ nar S7
‘\ [-] Verbal-Non Compliance: ‘Explain: Lavrare _ (iadicy Cust TA PES Our 4 Cie Se ‘

(verbal responses or threats of non-compliance to officer’s es

Bc] Passive Resistance: Explain: Lhuth MT Combth btery. Loin CLEAR ata. Comps

(dead weight or clinging to objects in an attempt to prevent the officer: from gaining control)

(_) Defensive Resistance: Explain:
(pushing, pulling, or mmning away from the officer to avoid control; never attempting to harm the officer)

Kgl Active Aggression: Explain: LupAcBll) Liban Ltieaps eats. Ss Sucer Apo bene hem J Tal VE

(physical actions of assault) AEA

E] Aggravated Active Aggression: Explain:

(assaults with a weapon)

24) Levels of Control: (Officer Presence is Implied)

I<] Verbal Direction: Explain: LM tBas Mas Wid LE CxZ6TE.. Aerie) i Over Ek LO Lege

(commands of direction) LS
| Empty Hand Control (C] Soft [Xf Hard): Explain Li OSLO Hla AIO SremnéS TF “hnotwe ¢ Ace
[_] physical touch [7] joint locks [_]pressure points Mhand strikes.{_] leg strikes.
Body Part: HAD CLA Body Part:

[intermediate Weapons: (Chemical etc.):

("] Impact Weapons: (primary or alternative) :

[] Lethal Force: specify: (Firearms or other lethal force employed) :

25)Reporting Officer Division | Reviewing supervisor: Disposition Date: . | Page:

| No. LLY Name: AVe7ue, LtOBLRE No. 4§77 Name: DNehb-% }_of 7

Inmate file Director of Corrections _. Captain of Security ___ Inmate medica] file __ Shift Records __ Officer file
ON,

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Case 1:07-cv-01205-LG-RHW Document 300-11: Filed 11/13/2009 Page 7 of 11
Harrison County Adult Detention Center .
: _- George Payne, Sheriff —
} Use of Force Report

fe

| Pressure Point Control Target Areas | a Chemical Spray Target Area

Mandibular Angle (PP.)
me f

Indre orbital Nerve {P.P. }

Jaguar notch [PP lypogiossal Nerve (P.P.}

Brachial Pleonus (Origin) (H.E.H,}
‘Brachial Plexus (Ctavical Notch) +
(P.PJ :

Bracid Plexus Tie-in: a " Gm,
(LEH) P .

_Radial Nepve (HEH, LW)

Heian Nerve,
(LEH, 17}

Femoral Nerve (H.E.H. 1:W.}

ommon Peroneal Nerve
Y HEH, LW)

Effects of Cheinical Spray ,
. 26) Was Spray Effective? Were Further Control Methods
Tcial Nerve (1.2.4. LW.) . . N eed ed? :
[] Yes [INo - L]¥Yes- [No. .
. Number of Times Sprayed: _| Approximate distance from subject:
: Eyes: , Skin. c=
[Jelosure []tears []}Noeffect | [] Redness [} Burning [] No effect
Nose: Chest:
| ‘(| Discharge [_] Irritation ["] No effect | [J Coughing [_]Labored Breathing
'O.C. Spray administrative warning? Decontamination:
. Caras Seem, Start Time: ___
} ew [| Yes [_] No Time: oy. End Time: -
P.P. ---Pressure point Variables affecting levels of control
HEH---Hard empty hand 1. Officer / subject size and gender
LW. ---Impact Weapon . 2. Environmental conditions and totality of cirowmstances

3, Reaction time
This section to be completed by Medical staff only!

27) injuries Sustained by officer:
‘EA. yes [[] No , Lo .
Explain, Oficer wos careined low somal aod . Wii seveya. \ times An hn. ‘ead. *

28) Injuries Sustained by Inmate:

[yes [] No Explain: Small SuperCici al aloasion be buctt ot Neadk swoailen lorusied © Ques.

29) Location of Examination: ‘sooki Ney 30) Examined PO

‘Time of Examination: “Vito _ Staff Name: CLO oy Won Zhe: Badge #:
£31) Medical treatment administered: a 32)Signature of Physician:

fd Yes [] No

Explain BP(/Ee PR ilo. Lim AROXZ PELLLIA

33) Narrative:

“Elen Pieced In shower To Otess Ove lm _atahed nt hte anol
Wik Wim seseva\ Amen im =o heck. Tim Nas small superficie | eid
4p bacle ok head . SWalkeA and buicrd OM ouc . PELCLA 2 AAOXA .
Diner Injuries omir dh of present Fine, § = A Ow iion
ln stuted When asiled 18 WS aw was nuttin 6 t]m_ Stated “No
wy Vow dees aml Nyy"! ° CPARN Chaos Naz 2

34) Tomato Classification:

[] Juvenile [7] Minimum security [7] Medium [_] Maximum security [| Inmate worker

35) Reviewing Shift Lieutenant: Division: 36) Disposition:

No. Name: : [] Closed []Open [] Under review

Inmate file. Director of Corrections __ Captain of Security _Immate medical file Shift Records__- Officer file __

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» duvente Involved 64208 S BHVY NARR Se iy ! 14 14319. Dece-B-of+4
B-original Report ype Incidéntl ate of This Repo: oY “Date of Original Report
(] Offense Supplement ~~ INFORMATIONAL 11/06/2005 11/06/2005
J Custody Supplement .| Suspect/Victim Name : List Complaint Numbers of Connected Cases
| Other MCBAY,GARY # 278873

‘Status Qty. Article Brand/Make * Model Name Description . Serial No. or OAN Value

ON NOVEMBER 6TH 2005, DEPUTY M. THOMPSON #224 WAS POSTED IN THE BOOKING DEPARTMENT FOR THE.

1900 - 0700 HOURS SHIFT. AT APPROXIMATELY 2115 HOURS DEPUTY THOMPSON WAS PERFORMING THE DRESS
OUT PROCEEDURE WITH NEW INMATE MCBAY, GARY H.C.A.D.C. DOCKET #278873. INMATE MCBAY APPEARED
__ INTOXICATED BUT STILL ABLE TO FOLLOW VERBAL COMMANDS GIVEN BY DEPUTY THOMPSON. WHEN
™ DEPUTY THOMPSON ASKED MCBAY TO REMOVE HIS (MCBAY) CLOTHING, MCBAY INDICATED THAT HE
WOULD NOT "GET NAKED " AND TOOK AN AGGRESSIVE POSTURE TOWARDS DEPUTY THOMPSON WITH
RAISED CLOSED FISTS. DEPUTY THOMPSON MOVED TOWARD MCBAY TO EMPLOY A SOFT EMPTY BAND .
CONTROL HOLD AND MCBAY THEN GRABBED DEPUTY THOMPSON ‘BY THE SHIRT AND STRUCK DEPUTY
THOMPSON APPROXIMATELY 2 TIMES ON THE SIDE OF THE HEAD WITH A CLOSED FIST. DURING THE ATTACK —

_DEPUTY THOMPSON FELT HE WAS IN PHYSICAL DANGER AND RETURNED MULTIPLE BLOWS WITH CLOSED

FISTS TO THE HEAD AND FACE AREA OF MCBAY.DEPUTY THOMPSON STOPPED ALL ACTIONS WHEN MCBAY
LET GO OF HIS (THOMPSONS) SHIRT . DEPUTY THOMPSON REQUESTED MEDICAL EVALUATION VIA RADIO DUE
TO MCBAY BLEEDING FROM THE NOSE AND FACIAL SWELLING. MEDICAL NURSE EVALUATED MCBAY AT
APPROXIMATELY 2125 HOURS AND FOUND NO SERIOUS INJURIES TO HIS PERSON. MCBAY THEN COMPLIED

‘WITH ALL FURTHER INSTRUCTIONS GIVEN BY DEPUTY THOMPSON AND COMPLETED THE DRESS OUT

}

PROCESS WITH NO FURTHER INCIDENT. DEPUTY THOMPSON TOOK NO FUTHER ACTION IN THIS MATTER.

END OF NARRATIVE

go

SPOSITION

OO A. Cleared Adult Arrest

[] B. Cleared Exceptional Adult
(1 C. Cleared Juvenile Custody

CI D. Cleared Exceptional Juvenile
(1 E. Unfounded

C1] F. Other - Cleared Exceptional
[1] G. Suspended Closed

“Reporting Officer: Division - : Reviewing Supervisor: Disposition Date

No. 224 Name M.THOMPSON BOOKING .No. Name

White - Records Canary - Crime Analysis Pink - CourtfC1D Gold ~ Patrol

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pee EEO }
. Ht : _-O

[ . NORSES NOTES

